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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO


In the Matter of the Search of                         )
                                                       )
U.S. Postal Service Priority Mail parcel bearing       )    Magistrate Deavers
tracking no. 9505 5138 1164 4079 8124 76               )    Case No. 2:24-mj-165
addressed to “Jhon, 45 Coolidge Ave.,                  )    UNDER SEAL
Columbus, Ohio 43228."                                 )
                                                       )

       I, Scott Emmick, Postal Inspector with The United States Postal Inspection Service, being

duly sworn, depose and say:

                                       INTRODUCTION

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the United States Postal Service Priority

Mail parcel bearing tracking number 9505 5138 1164 4079 8124 76 (SUBJECT PARCEL),

further described in Attachment A, for the things described in Attachment B. The SUBJECT

PARCEL is currently located in the Southern District of Ohio, Eastern Division.

       2.      I am a United States Postal Inspector, having been so employed since July of 2023.

I am presently assigned to the Columbus, Ohio Field Office, Pittsburgh Division of the United

States Postal Inspection Service (USPIS). I have gained experience through completion of the

Basic Inspector Training (BIT) in November of 2023. During BIT, I was instructed in all phases

of criminal investigation, such as criminal law, search and seizure, field enforcement techniques,

firearms proficiency, drug and narcotics identification, narcotics field testing, interviewing and

evidence collection. Since November 2023 I have worked with various federal, state, and local

law enforcement agencies in the investigation of crimes involving the U.S. Mail and the U.S. Postal

Service including but not limited to mail fraud, bank fraud, mail theft, burglaries, robberies,

dangerous mail investigations, and mailed narcotics.
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       3.      Prior to my employment with the USPIS, I was employed for five years by the

Department of Homeland Security as a Border Patrol Agent in the Yuma, AZ sector of operations.

As a Border Patrol Agent, I served as a federal law enforcement officer enforcing crimes such as

human smuggling and narcotics smuggling. I performed several duties such as a line agent,

checkpoint operations, highway interdiction, and was a part of the movement coordination cell. I

gathered intelligence by conducting traffic stops, interviewing suspected citizens and non-citizens

involving numerous federal offenses, and actively patrolling the United States and Mexico border.

       4.      Experience and drug trafficking intelligence have demonstrated that Priority Mail

and Priority Mail Express are commonly used to transport drugs and drug proceeds because of

their reliability and the time pressures they place on law enforcement agents to execute a

successful controlled delivery.

       5.      The facts set forth in this affidavit are based on my personal knowledge,

knowledge obtained during my participation in this investigation, knowledge obtained from other

individuals, review of records related to this investigation, communications with others who have

personal knowledge of the events and circumstances described herein, and information gained

through my training and experience. Because this affidavit is submitted for the limited purpose

of establishing probable cause in support of the application for a search warrant, this affidavit

does not set forth each and every fact learned by me during the course of this investigation.

                                       SUBJECT PARCEL

       6.      On or about March 21, 2024, USPIS interdiction personnel in Columbus, Ohio

interdicted the SUBJECT PARCEL, addressed to “Jhon, 45 Coolidge Ave. Columbus, Ohio

43228”, with a return address of “Alex Perez, 718 E. St., Brawley, CA 92227.” The SUBJECT

PARCEL is further described as a white United States Postal Service Priority Mail box,

weighing 2lbs 7.6ozs. The SUBJECT PARCEL was mailed on March 19, 2024, from the
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Calexico, CA Post Office, 92231 with $18.40 of postage affixed. The parcel is currently in the

possession of the USPIS in Columbus, Ohio, in the Southern District of Ohio, Eastern Division.

                                        PROBABLE CAUSE

       7.      Your Affiant has become aware through experience and training that drug

traffickers frequently use Priority Mail Express and/or Priority Mail services offered by the

USPS, to transport narcotics and other dangerous controlled substances as well as drug proceeds.

These services charge a higher fee because they are very timely, reliable and are trackable.

However due to the higher fee, these services are not typically used for personal mailings but

rather are utilized by commercial mailers and business customers. As they are mostly used for

commercial services, they are typically paid for using electronic postage or credit card as

opposed to being paid for in cash. Because these services are reliable and trackable, they are

often favored by persons who transport contraband and/or illegal controlled substances and drug

proceeds. When used for illegal activity, these services are frequently paid for in cash. In my

experience and through training, drug traffickers pay for these services in cash so that the

transaction cannot be traced to a particular credit card or business account, and because drug

trafficking is often a cash business.

       8.      Among the characteristics of the drug profile possessed by the SUBJECT

PARCEL is the “source state” origination of the parcel, as well as the destination of the

SUBJECT PARCEL.

       9.      Your Affiant submits that the origin state of the SUBJECT PARCEL bears on the

issue of probable cause here. For example, US Postal Inspectors, Special Agents of the Drug

Enforcement Administration (“DEA”), and other intelligence sources have identified California

as a source state for illegal drugs flowing into Central Ohio and a destination state for the
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proceeds from the sale of these illegal drugs. Based on my training and experience, I know drug

traffickers frequently utilize various shipping and mail entities, including the United States

Postal Service, for the shipment of controlled substances. Frequently the same shipping entity

utilized for the shipment of controlled substances is also utilized for the shipment of the proceeds

derived from the sale of these controlled substances.

       10.     On or about March 20, 2024, utilizing an image of the SUBJECT PARCEL

obtained from USPS mail processing equipment, checks of USPS, law enforcement, and open-

source electronic databases were conducted to determine the validity of the destination

information contained on the SUBJECT PARCEL. The destination address, “45 Coolidge Ave”

was found to be a valid and deliverable address in the 43228-zip code. The name “Jhon” was not

found to be associated with the address.

       11.     Further, on or about March 20, 2024, checks of USPS, law enforcement, and

open-source electronic databases were conducted to determine the validity of the return

information contained on the SUBJECT PARCEL. The return address, “718 E. St.” was found

to be a valid and deliverable address in the 92227-zip code. The name “Alex Perez” was not

found to be associated with the address.

       12.     Regarding both the above-described return and destination addresses, I know

through training and experience, that shippers of drugs and drug proceeds will often utilize a

fictitious return name or no name with a valid return address to legitimize the shipment and to

reduce the possibility of identification and apprehension by law enforcement. Additionally,

while a valid delivery address is necessary to ensure the delivery of a parcel, a fictitious delivery

name or no name, is often utilized for the same reasons previously discussed.
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       13.     Because the SUBJECT PARCEL originated in California, a state known as a

source of controlled substances being mailed to Central Ohio, the return and destination names

were determined to be fictitious, the SUBJECT PARCEL was paid for in cash, and the

SUBJECT PARCEL bore many similarities to other parcels believed to be associated and found

to contain suspected controlled substances, investigators submitted the SUBJECT PARCEL for

examination by a drug detecting canine.

                      EXAMINATION BY DRUG DETECTING CANINE

       14.     On or about March 25, 2024, US Postal Inspectors contacted Trooper Michael

Rucker, Ohio State Highway Patrol, who is the handler for “Ragnar,” a Drug Detecting Canine.

K-9 “Ragnar” has been certified by the Ohio Peace Officers Training Association since February

2024 for tracking, article search, and the detection of cocaine, heroin, methamphetamine, and

their derivatives. K-9 “Ragnar” has had over 200 hours of training at the Ohio Highway Patrol

K9 Training Facility. Both in training and actual deployments, K-9 “Ragnar” has successfully

detected narcotics, by demonstrating clear, passive alerts, and has established himself as a highly

reliable police service dog.

       15.     The SUBJECT PARCEL was hidden among other parcels and USPS mail

processing equipment and K-9 “Ragnar” was allowed to search the entire area. Trooper Rucker

concluded that K-9 “Ragnar” did alert positively to the SUBJECT PARCEL. Based on that alert,

Trooper Rucker concluded that the odor of one or more of the drugs K-9 “Ragnar” is trained and

certified to detect was present.

       16.     Based upon training and experience, I respectfully submit that the above

information is indicative of drug trafficking activity, and that, based on the above, there is

probable cause to search the SUBJECT PARCEL.
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       17.     If the SUBJECT PARCEL is found to contain controlled substances, these

controlled substances will be seized as part of an ongoing drug trafficking investigation.

                                         CONCLUSION

       18.     Based upon the foregoing facts and my training, experience, and expertise as a US

Postal Inspector, I submit there is probable cause to search the SUBJECT PARCEL for

controlled substances, drug proceeds, and other evidence of violations of Title 21, United States

Code, Sections 841(a)(1), 843(b), and 846.

       19.     WHEREFORE, I respectfully request that the Court issue a warrant, authorizing

agents of the USPIS, including but not limited to other law enforcement agents and technicians

assisting in the above-described investigation, to open, view, and photograph, and seize, if

necessary, the SUBJECT PARCEL and its contents.

       20.     The above information is true and correct to the best of my knowledge,

information, and belief.

                                                              __________________________
                                                                   __________________
                                                              Scott Emmick
                                                              US Postal Inspector


                                       26 day of March 2024
       Sworn and subscribed to me this ___th



       _________________________________
       Elizabeth A. Preston Deavers
       United States Magistrate Judge
